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 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,           ) No. 2:07-cr-00298 MCE
                                         )
10                                       )
             Plaintiff,                  )
11                                       )
                                         ) STIPULATION AND ORDER
12                 v.                    ) CONTINUING STATUS
                                         ) CONFERENCE
13                                       )
     JESUS LUPIAN,                       )
14                                       )
              Defendant.                 )
15                                       )
                                         ) Date: February 6, 2014
16                                       ) Time: 9:00 a.m.
                                         ) Judge: Hon. Morrison C. England Jr.
17                                       )
18
           IT IS HEREBY STIPULATED by and between Assistant United
19
     States Attorney Jason Hitt, counsel for Plaintiff, and Jeffrey L. Staniels,
20

21   court appointed attorney for Defendant Jesus Lupian, that the above case
22
     be vacated from this court’s February 6, 2014, calendar, and that it be
23

24   continued until February 27, 2014, at 9:00 a.m. for status conference.
25
           The court is advised that material progress has been made in
26

27
     reaching a resolution of issues underlying and relating to the Supervised

28   Release violation petition pending before the court. Discussions between
            Case 2:07-cr-00298-MCE Document 109 Filed 02/07/14 Page 2 of 2


 1
     counsel have produced what appears to counsel to be an agreement in
 2
     principle that needs to be reduced to writing and executed.
 3

 4         The court is requested to find that this continuance is reasonable, and
 5
     to grant it. Since the pending matter involves an alleged violation of
 6

 7   supervised release, no speedy trial issues are implicated by this request.
 8
           IT IS SO STIPULATED.
 9

10

11   Date: February 5, 2014                    /s/ Jason Hitt
12                                             Jason Hitt
                                               Assistant U.S. Attorney
13
                                               Counsel for Plaintiff
14

15
     Date: February 5, 2014                    s/ Jeffrey L. Staniels
                                               Jeffrey L. Staniels
16                                             Counsel for Defendant
17                                             JESUS LUPIAN
18

19

20                                     ORDER
21
           It is so ordered.
22

23

24
     Dated: February 6, 2014

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